Case 4:23-cv-00556-Y Document4 Filed 06/05/23 Page1lof16 PagelD 52

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Northern District of Texas

JOHN ANTHONY CASTRO

 

Plaintiff
Civil Action No.

4-23CV-556-¥

Vv.

DONALD J. TRUMP, CHARLES RETTIG, MARIA
CHAPA LOPEZ, TUAN MA, ANNE CRAIG, et al

mee See Nee Ne et Me Me

 

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) DONALD J. TRUMP
1100 S Ocean Blvd
Palm Beach, FL 33480

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. ‘The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: John Anthony Castro

12 Park Place
Mansfield, Texas 76063

Lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

   

You also must file your answer or motion with the court. itil Huy Mi,
SHOES Nx,
Se Ae
=

Date: 06/05/2023
Case 4:23-cv-00556-Y Document4 Filed 06/05/23 Page2of16 PagelD 53
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 @

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

GI personally served the summons on the individual at (place}

 

on (date) , or

 

CO [ left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

CT {served the summons on (name of individual) , who is

 

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) 5 or
CO L returned the summons unexecuted because , or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

 

 

| declare under penalty of perjury that this information is true.

Date:

 

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 4:23-cv-00556-Y Document4 Filed 06/05/23. Page 3of16 PagelD 54

AQ 440 (Rev. 12/09) Summons ina Civit Action

 

UNITED STATES DISTRICT COURT

 

 

for the
Northern District of Texas
JOHN ANTHONY CASTRO )
Plainti )
laintiff )
v. 5 Civil Action No.
DONALD J. TRUMP, CHARLES RETTIG, MARIA )
CHAPA LOPEZ, TUAN MA, et al )
Defendant )

4-25Cy-555°¥

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) CHARLES RETTIG

5031 Densmore Avenue
Encino, CA 91436

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it}—— or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address ate: ~~ John Anthony Castro

12 Park Place
Mansfield, Texas 76063

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

     

 

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Date: 06/05/2023 2d Rios

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Case 4:23-cv-00556-Y Document4 Filed 06/05/23 Page4of16 PagelD 55

AO 440 (Rev, £2/09) Summons ina Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R, Civ. P. 4 (i)

This summons for (name of individual and title, fany)

 

was received by me on (date)

(1 I personally served the summons on the individual at (place)

 

on (date) 5 or

 

CF I left the summons at the individual’s residence or usual! place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s fast known address; or

O served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

On (date) > OF
O) Lreturned the summons unexecuted because ; or
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 4:23-cv-00556-Y Document4 Filed 06/05/23 Page5of16 PagelD 56

AO 440 (Rev. 12/09} Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

JOHN ANTHONY CASTRO

 

Plaintiff
Civil Action No.

4-23Cy-556-%

¥.

DONALD J. TRUMP, CHARLES RETTIG, MARIA
CHAPA LOPEZ, TUAN MA, et al

Defendant

Name ae eee Magee! Sue ee” ee”

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) MARIA CHAPA LOPEZ
400 North Tampa Street
Suite 3200
Tampa, FL 33602

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: = John Anthony Castro

42 Park Place
Mansfield, Texas 76063

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the court. Mia,
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CLERK OF COURT

Date: 06/05/2023 _Iuaptaa ZO
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Case 4:23-cv-00556-Y Document4 Filed 06/05/23. Page6of16 PagelD 57

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2}
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P. 4 ())

This summons for (name of individual and title, fany)

 

was received by me on (date)

 

J I personally served the summons on the individual at (place)

 

on (date) ; Or

 

 

C1 I left the summons at the individual’s residence or usual place of abode with (name)

 

, aperson of suitable age and discretion who resides there,

 

 

 

 

 

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Oni (date) _ and mailed a copy to the individual's last known address; or
O Iserved the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 3 or
(7 I returned the summons unexecuted because ; OF
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 4:23-cv-00556-Y Document4 Filed 06/05/23 Page 7of16 PagelD 58

AO 440 (Rev. 12/09) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the

 

Northern District of Texas

JOHN ANTHONY CASTRO

 

Plaintiff
Civil Action No.

4-23Cy-550-¥

¥

DONALD J. TRUMP, CHARLES RETTIG, MARIA
CHAPA LOPEZ, TUAN MA, at al

 

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) TUAN MA
1914 Stanley Street
Orlando, FL 32803

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: = John Anthony Castro

12 Park Place
Mansfield, Texas 76063

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: 06/05/2023

 
Case 4:23-cv-00556-Y Document4 Filed 06/05/23 Page8of16 PagelD 59

AO 440 (Rev. 12409) Summons in a Civil Action (Page 2}

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. P. 4 (i)

This summons for (name of individual and title, far)

 

was received by me on (date)

CJ I personally served the summons on the individual at (place)

 

on (date) ; or

 

[ I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

On (date) , and mailed a copy to the individual’s last known address; or

CT I served the summons on fname of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date} ; or
© {returned the summons unexecuted because ; or
C1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 4:23-cv-00556-Y Document4 Filed 06/05/23 Page9of16 PagelD 60

AO 440 (Rev. 12/09) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the

Northern District of Texas

JOHN ANTHONY CASTRO

 

Plaintiff

¥v.

DONALD J. TRUMP, CHARLES RETTIG, MARIA
CHAPA LOPEZ, TUAN MA, et al

Defendant

Civil Action No.

4-23Cy-556-¥

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ANNE CRAIG-PENA
9085 West Comell Place
Lakewood, CO 80227

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it} — or 60 days if you

are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.

P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: John Anthony Castro

12 Park Place

Mansfield, Texas 76063

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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Date: 06/05/2023

 

 
Case 4:23-cv-00556-Y Document 4 Filed 06/05/23 Page 10o0f16 PagelD 61

AG 440 (Rev. 12/09) Summons in a Civil Action (Page 2}

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (rane of individual and title, if any)

 

was received by me on (date)

) I personally served the summons on the individual at (place)

 

on (date) ; or

 

C1 I left the sammons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

(J I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; OF
( [returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

] declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 4:23-cv-00556-Y Document 4 Filed 06/05/23 Page11o0f16 PagelD 62

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

JOHN ANTHONY CASTRO

 

Plaintiff

v Civil Action No.

DONALD J. TRUMP, CHARLES RETTIG, MARIA
CHAPA LOPEZ, TUAN MA, ef al

 

4-938 CYy-556°l

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ANTON PUKHALENKO
11552 Fountainhead Drive
Tampa, FL 33626

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: John Anthony Castro

12 Park Place
Mansfield, Texas 76063

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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CLERK OF COURT

 

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Signature“of Clerkp, fap Clerk.

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MATES

Date: 06/05/2023
Case 4:23-cv-00556-Y Document 4 Filed 06/05/23 Page120f16 PagelD 63
AO 440 (Rev. 12/09} Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

© I personally served the summons on the individual at (place)

 

on (date} ; or

 

C1 | left the summons at the individual’s residence or usual place of abode with fname)

 

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

O [served the summons on fname of individual} , who is

 

designated by !aw to accept service of process on behalf of (name of organization)

 

 

 

On (date) ; of
CO) Ireturned the summons unexecuted because 3 or
O Other (specifiy:
My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 4:23-cv-00556-Y Document4 Filed 06/05/23 Page130f16 PagelD 64

AO 440 (Rey. 12/09} Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
Northern District of Texas

JOHN ANTHONY CASTRO )
)
Plaintiff )

v. 5 Civil Action No.

DONALD J. TRUMP, CHARLES RETTIG, MARIA 4
CHAPA LOPEZ, TUAN MA, et al 2 es
Defendant ) Cy- B5 6 - ¥

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ESTELA WELLS
2203 N. Lois Avenue
Suite 500, Mail Stop 4115
Tampa, FL 336

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name arid address are: = John Anthony Castro

12 Park Place
Mansfield, Texas 76063

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

 

‘

Date: 06/05/2023 Lbs i

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Case 4:23-cv-00556-Y Document 4 Filed 06/05/23 Page140f16 PagelD 65
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2}
Civil Action No.

PROOE OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ. P, 4 (D)

This summons for frame of individual and title, if any)

 

was received by me on (date)

(J I personally served the summons on the individual at (place)

 

on (date) ; Or

 

fC 1 left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) 5 or
G Ireturned the summons unexecuted because ,or
QO Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Prinied name and title

 

Server’s address

Additional information regarding attempted service, etc:
Case 4:23-cv-00556-Y Document 4 Filed 06/05/23 Page15o0f16 PagelD 66

AO 440 (Rey. 12/09) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

JOHN ANTHONY CASTRO

 

Plaintiff

Civil Action No.

a WV
4-23CV- 59° *

SUMMONS IN A CIVIE ACTION

¥.

DONALD J. TRUMP, CHARLES RETTIG, MARIA
CHAPA LOPEZ, TUAN MA, et al

Defendant

Neneh Neel See ee ee mere el

To: (Defendant's name and address) JOHN TURNICKY .
1000 Colonial Farm Road
McLean, Virginia 22104

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: John Anthony Castro

12 Park Place
Mansfield, Texas 76063

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

  

Bee

Date; 06/05/2028 Sh
Sighature of Clagk’ @,Penuty, Clerk =

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Case 4:23-cv-00556-Y Document 4 Filed 06/05/23 Page 16o0f16 PagelD 67

AO 440 (Rev. 32/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and title, if any)

 

was received by me on (date)

CI I personally served the summons on the individual at qlace)

 

on (date) or

 

© 1 left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or

O I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; Or
O J returned the summons unexecuted because ; or
O Other (specif:
My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and litle

 

Server's address

Additional information regarding attempted service, etc:
